              Case 1:19-cr-00921-AKH Document 41 Filed 12/06/21 Page 1 of 1




 UNITED ST A TES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
  ------------------------------------------------------x


 UNITED STATES OF AMERICA
                                                           ORDER

                  -against-
                                                           19 Cr. 921 (AKH)
 Nicholas Truglia,

                                    Defendant.
 ------------------------------------------------------x
 ALVIN K. HELLERSTEIN, U.S.D.J.:

                  Defendant Nicholas Truglia, having violated bail conditions, on indictment 19 Cr.
921 , shall be remanded to the custody of the United States Marshals.


                  SO ORDERED.

 Dated:           December 6, 2021
                  New York, New York




                                                                 United States District Judge
